         Case 21-33710-KRH                       Doc 1     Filed 12/19/21 Entered 12/19/21 18:15:01                              Desc Main
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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           Eastern District of Virginia
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter       11                                                        amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                 04/20
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               JAG VIII LLC


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          401 East Las Olas Boulevard                                 550 Andrews Avenue, Suite 300
                                          Number           Street                                     Number         Street

                                          Suite 1700
                                                                                                      P.O. Box

                                          Fort Lauderdale               Florida    33301              Fort Lauderdale             Florida        33301
                                          City                             State     Zip Code         City                         State      Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Broward
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 https://www.nac.dk

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:




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Debtor            JAG VIII LLC                                                  Case number (if known)
           Name



7.   Describe debtor’s business
                                         A. Check One:
                                         ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                         ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                         ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                         ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                         ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                         ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         ☒ None of the above

                                         B. Check all that apply:
                                         ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                         ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                         ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                         5324 - Commercial and Industrial Machinery and Equipment Rental and Leasing

8. Under which chapter of the            Check One:
   Bankruptcy Code is the
   debtor filing?                        ☐ Chapter 7

                                         ☐ Chapter 9

      A debtor who is a “small           ☒ Chapter 11. Check all that apply:
      business    debtor”   must
                                                           ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      check the first sub-box. A                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      debtor as defined in §                                 affiliates) are less than $2,725,625. If this sub-box is selected, attach the most recent
      1182(1) who elects to                                  balance sheet, statement of operations, cash-flow statement, and federal income tax
      proceed under subchapter                               return or if any of these documents do not exist, follow the procedure in 11 U.S.C. §
      V of chapter 11 (whether or                            1116(1)(B).
      not the debtor is a “small
                                                           ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate noncontingent
      business debtor”) must
                                                             liquidated debts (excluding debts owed to insiders or affiliates) are less than $7,500,000
      check the second sub-box.                              and it chooses to proceed under Subchapter V of Chapter 11. If this sub-box is
                                                             selected, attach the most recent balance sheet, statement of operations, cash-flow
                                                             statement, and federal income tax return or if any of these documents do not exist,
                                                             follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                           ☐ A plan is being filed with this petition.

                                                           ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).
                                                           ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                             Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                           ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                         ☐ Chapter 12

9. Were prior bankruptcy cases        ☒ No
   filed by or against the debtor     ☐ Yes.    District                           When                       Case number
   within the last 8 years?                                                                 MM/DD/YYYY
     If more than 2 cases, attach a             District                           When                       Case number
     separate list.                                                                         MM/DD/YYYY




     Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page 2
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    Debtor           JAG VIII LLC                                                          Case number (if known)
              Name



    10. Are any bankruptcy cases            ☐ No
        pending or being filed by a         ☒ Yes.                                                                       Relationship    Affiliate
                                                          Debtor        See Rider 1
        business partner or an
        affiliate of the debtor?                          District     Eastern District of Virginia
                                                                                                                         When            12/17/2021
       List all cases. If more than 1,                                                                                                   12/19/2021
       attach a separate list.                                                                                                           MM / DD / YYYY
                                                        Case number, if known __See Rider 1 ______________

    11. Why is the case filed in this      Check all that apply:
        district?
                                           ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.
                                           ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have        ☒ No
        possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                          Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                      ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                            safety.
                                                            What is the hazard?

                                                      ☐     It needs to be physically secured or protected from the weather.

                                                       ☐     It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                             (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                             other options).
                                                      ☐     Other


                                                      Where is the property?
                                                                                             Number         Street



                                                                                             City                                State      Zip Code



                                                      Is the property insured?
                                                      ☐ No

                                                      ☐ Yes.         Insurance agency

                                                                     Contact name
                                                                     Phone




                           Statistical and administrative information

    13. Debtor's estimation of            Check one:
        available funds
                                          ☒ Funds will be available for distribution to unsecured creditors.
                                          ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of               ☐      1-49                         ☒       1,000-5,000                    ☐     25,001-50,000
        creditors1                        ☐      50-99                        ☐       5,001-10,000                   ☐     50,001-100,000
                                          ☐      100-199                      ☐       10,001-25,000                  ☐     More than 100,000
                                          ☐      200-999


1      The estimated number of creditors and estimated amounts of assets, and liabilities, are being listed on a consolidated basis for all Debtor affiliates
       listed on Rider 1, attached hereto.

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Debtor           JAG VIII LLC                                                       Case number (if known)
          Name



15. Estimated assets                ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
                                    ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                    ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                    ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities           ☐       $0-$50,000                  ☐    $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
                                    ☐       $50,001-$100,000            ☐    $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                    ☐       $100,001-$500,000           ☐    $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                    ☐       $500,001-$1 million         ☐    $100,000,001-$500 million              ☐    More than $50 billion

                  Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of        The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of        petition.
    debtor
                                        I have been authorized to file this petition on behalf of the debtor.
                                        I have examined the information in this petition and have a reasonable belief that the information is true and
                                        correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                        Executed on         12/19/2021
                                                             MM/ DD / YYYY


                                             /s/ Justin Bickle                                                  Justin Bickle
                                             Signature of authorized representative of debtor                Printed name

                                             Title        Authorized Signatory




18. Signature of attorney                    /s/ Michael A. Condyles                                        Date        12/19/2021
                                             Signature of attorney for debtor                                           MM/DD/YYYY



                                             Michael A. Condyles
                                             Printed name
                                             Kutak Rock LLP
                                             Firm name
                                             901 East Byrd Street, Suite 1000
                                             Number                 Street
                                             Richmond                                                               VA                23219
                                             City                                                                   State               ZIP Code
                                             (804) 343-5227                                                         Michael.Condyles@KutakRock.com
                                             Contact phone                                                              Email address
                                             27807                                                   VA
                                             Bar number                                          State




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 Fill in this information to identify the case:
                                                                              ,
 United States Bankruptcy Court for the:
                           Eastern District of Virginia
                                        (State)                                                          ☐ Check if this is an
 Case number (if known):                                  Chapter   11                                       amended filing


                                                     Rider 1
                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

         On December 17, 2021, the Debtor’s affiliate, Nordic Aviation Capital Pte. Ltd. and three affiliated entities
listed below filed petitions in the United States Bankruptcy Court for the Eastern District of Virginia (the “Court”) for
relief under chapter 11 of title 11 of the United States Code. The Debtors’ cases are currently pending before the
Court under Case Nos. 21-33688, 21-33689, 21-33690, and 21-33691.

 Nordic Aviation Capital Pte. Ltd.                                       Case No. 21-33688
 NAC Aviation 17 Limited                                                 Case No. 21-33689
 NAC Aviation 20 Limited                                                 Case No. 21-33690
 Nordic Aviation Capital A/S                                             Case No. 21-33691

         On the date hereof, each of the entities listed below (together with Nordic Aviation Capital Pte. Ltd., NAC
Aviation 17 Limited, NAC Aviation 20 Limited, and Nordic Aviation Capital A/S, collectively, the “Debtors”) filed a
petition in the United States Bankruptcy Court for the Eastern District of Virginia for relief under chapter 11 of title 11
of the United States Code. The Debtors have moved for joint administration of these chapter 11 cases under the
case number assigned to the chapter 11 case of Nordic Aviation Capital Designated Activity Company.

   Nordic Aviation Capital Designated Activity Company                   NAC Aviation 8 Limited
   ALC ATR 426 1012, LLC                                                 NAC Aviation Canada Inc.
   ALC ATR 426 1018, LLC                                                 NAC Aviation Colorado 1 LLC
   ALC ATR 726 1086, LLC                                                 NAC Aviation Colorado 2 LLC
   ALC ATR 726 1103, LLC                                                 NAC Aviation Cyprus 1 Limited
   ALC ATR 726 1112, LLC                                                 NAC Aviation Cyprus 2 Limited
   Aldus Portfolio B Limited                                             NAC Aviation Cyprus 3 Limited
   Aldus Portfolio Leasing Limited                                       NAC Aviation France 1 SAS
   Argos Aviation Malta Limited                                          NAC Aviation France 5 SAS
   Eagle I Limited                                                       NAC Aviation France 6 SAS
   Enclave Aviation Sweden AB                                            NAC Aviation France 7 SAS
   Fortuna Aviation Designated Activity Company                          NAC Aviation UK 1 Limited
   Fortuna Aviation Holding Limited                                      NAC Aviation UK 2 Limited
   Freyja Aviation Four Ireland Limited                                  NAC Aviation UK 3 Limited
   Freyja Aviation One Ireland Designated Activity
                                                                         NAC Aviation US LLC
   Company
   Freyja Aviation One Malta Limited                                     NAC Services China Co., Ltd.
   Freyja Aviation Three Ireland Limited                                 NAC Services France SAS
   Freyja Aviation Two Ireland Limited                                   NAC Services Malta Limited
   JAG VIII LLC                                                          NAC Services UK Limited
   Jetscape Aviation Group, LLC                                          NK Aviation Limited
   Jetscape Aviation Group Ltd.                                          NK Leasing Limited
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Jetscape Commercial Jets Limited                Nordic Aviation Capital Inc.
Jetscape, Inc.                                  Nordic Aviation Contractor (Ireland) Limited
Magni Aviation One Sweden AB                    Nordic Aviation Financing ApS
Merlano Limited                                 Nordic Aviation Financing One Pte. Ltd.
Minerva Aviation Malta Limited                  Nordic Aviation Leasing Eight Pte. Ltd.
NAC Aviation 10 Limited                         Nordic Aviation Leasing Eighteen Pte. Ltd.
NAC Aviation 11 Limited                         Nordic Aviation Leasing Eleven Pte. Ltd.
NAC Aviation 12 Limited                         Nordic Aviation Leasing Fifteen Pte. Ltd.
NAC Aviation 14 Limited                         Nordic Aviation Leasing Fourteen Pte. Ltd.
NAC Aviation 15 Limited                         Nordic Aviation Leasing Nine Pte. Ltd.
NAC Aviation 16 Limited                         Nordic Aviation Leasing Nineteen Pte. Ltd.
NAC Aviation 18 Limited                         Nordic Aviation Leasing Pte. Ltd.
NAC Aviation 19 Limited                         Nordic Aviation Leasing Seven Pte. Ltd.
NAC Aviation 2 A/S                              Nordic Aviation Leasing Seventeen Pte. Ltd.
NAC Aviation 2 Limited                          Nordic Aviation Leasing Six Pte. Ltd.
NAC Aviation 21 Limited                         Nordic Aviation Leasing Sixteen Pte. Ltd.
NAC Aviation 22 Limited                         Nordic Aviation Leasing Twelve Pte. Ltd.
NAC Aviation 23 Limited                         Nordic Aviation Leasing Twenty Eight Pte. Ltd.
NAC Aviation 24 Limited                         Nordic Aviation Leasing Twenty Five Pte. Ltd.
NAC Aviation 25 Limited                         Nordic Aviation Leasing Twenty Four Pte. Ltd.
NAC Aviation 26 Limited                         Nordic Aviation Leasing Twenty Nine Pte. Ltd.
NAC Aviation 27 Limited                         Nordic Aviation Leasing Twenty One Pte. Ltd.
NAC Aviation 28 Limited                         Nordic Aviation Leasing Twenty Pte. Ltd.
NAC Aviation 29 Designated Activity Company     Nordic Aviation Leasing Twenty Seven Pte. Ltd.
NAC Aviation 3 A/S                              Nordic Aviation Leasing Twenty Three Pte. Ltd.
NAC Aviation 3 Limited                          Nordic Aviation Leasing Twenty Two Pte. Ltd.
NAC Aviation 30 Limited                         Nordic Aviation Leasing Two Pte. Ltd.
NAC Aviation 31 Limited                         Nordic Aviation Services Limited
NAC Aviation 32 Limited                         Nordic Aviation Services US, LLC
NAC Aviation 33 Limited                         Tiradentes Portfolio A Limited
NAC Aviation 34 Limited                         Tiradentes Portfolio B Limited
NAC Aviation 35 Limited                         Tiradentes Portfolio C Limited
NAC Aviation 36 Limited                         Tiradentes Portfolio D Limited
NAC Aviation 4 Limited                          Tyche Aviation Designated Activity Company
NAC Aviation 6 Limited                          Tyche Aviation Holding Limited
NAC Aviation 7 Limited




 Rider 1                                                                                         Page 2
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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                        RICHMOND DIVISION

                                                       )
    In re:                                             )     Chapter 11
                                                       )
    JAG VIII LLC,                                      )     Case No. 21-___________(___)
                                                       )
                            Debtor.                    )
                                                       )

                                  LIST OF EQUITY SECURITY HOLDERS1

             Debtor              Equity Holders            Address of Equity Holder         Percentage
                                                                                               Held
                                                       401 East Las Olas Boulevard
                             Nordic Aviation Capital
    JAG VIII LLC                                       Suite 1700                              100%
                             Inc.
                                                       Fort Lauderdale, Florida 33301




1      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case.
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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                      RICHMOND DIVISION

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 JAG VIII LLC,                                        )    Case No. 21-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                            Approximate Percentage of Shares Held

 Nordic Aviation Capital Inc.                                                  100%
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    Fill in this information to identify the case:

    Debtor name          Nordic Aviation Capital Designated Activity Company

    United States Bankruptcy Court for the:                            Eastern District of Virginia                                               Check if this is an
    Case number (If known):                                                                  (State)                                              amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                       12/15

        A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
        the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
        include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
        among the holders of the 30 largest unsecured claims.

                                                                                                                                               Amount of claim

                                                                                              Nature of claim                      If the claim is fully unsecured, fill in only
                                                                                                                                  unsecured claim amount. If claim is partially
                                                                                                (for example,       Indicate if      secured, fill in total claim amount and
                                                                                              trade debts, bank      claim is     deduction for value of collateral or setoff to
      Name of creditor and complete               Name, telephone number and email
                                                                                                    loans,         contingent,              calculate unsecured claim.
     mailing address, including zip code             address of creditor contact
                                                                                                 professional     unliquidated,
                                                                                                services, and      or disputed     Total        1Deduction
                                                                                                 government                       claim, if     for value of       Unsecured
                                                                                                  contracts)                      partially     collateral or       Claim
                                                                                                                                  secured         setoff [1]

    PFA Pension, forsikringsaktieselskab
                                                  Attention: Lars Hougaard
    Sundkrogsgade 4
1                                                 Phone: +45-39175000                         Unsecured Notes                                                     $522,971,303
    2100 Copenhagen
                                                  Email: LHR@pfa.dk
    Denmark
                                                  Attention: Attorneys Luigi Farenga,
    Alitalia - Società Aerea Italiana S.p.A.      Francesco Astone and Valerio Di
    Via A. Nassetti, Bldg Alfa                    Gravio                                                           Contingent,
2                                                                                                 Litigation                                                        $2,321,047
    Fiumicino, Rome 00054                         Email: luigi.farenga@unipg.it,                                    Disputed
    Italy                                         francesco.astone@astoneassociati.it,
                                                  valerio.digravio@studiodigravio.com
    MTU Aero Engines AG
                                                  Attention: Matthias Klepsch
    Dachauer Str. 665
3                                                 Phone: +49 89 1489-0                          Trade Vendor       Unliquidated                                     $1,423,000
    80995 München
                                                  Email: Matthias.KLEPSCH@mtu.de
    Germany
    Pratt & Whitney Canada (SEA) Pte Ltd
    10 Loyang Crescent                            Attention: Linda Tan
4                                                                                               Trade Vendor       Unliquidated                                     $1,200,000
    509010                                        Email: Linda.Tan@pwc.ca
    Singapore
    Titan International Finance Ltd               Attn: c/o Kevin J. Johnson, Fafinski
    788-790 Finchley Road                         Mark & Johnson, P.A.
5                                                                                               Trade Vendor                                                        $1,086,100
    London NW11 7TJ                               Phone: (952) 995-9576
    United Kingdom                                Email: kevin.johnson@fmjlaw.com
    Pratt and Whitney Canada
                                                  Attention: Firas Hussein
    1000 Marie-Victorin
6                                                 Phone: +65 97399765                           Trade Vendor       Unliquidated                                     $1,000,432
    Longueil, QC, J4G 1A1
                                                  Email: firas.hussein@pwc.ca
    Canada
    De Havilland Aircraft of Canada Ltd           Attention: Murahary Golla
    123 Garratt Blvd                              Phone: +4153754179
7                                                                                               Trade Vendor                                                          $530,260
    Toronto, Ontario, M3K 1Y5                     Email:
    Canada                                        murahary.golla@dehavilland.com



           1
               The Debtors reserve the right to assert setoff and other rights with respect to any of the claims listed herein.
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                                                                                                                                         Amount of claim

                                                                                        Nature of claim                      If the claim is fully unsecured, fill in only
                                                                                                                            unsecured claim amount. If claim is partially
                                                                                          (for example,       Indicate if      secured, fill in total claim amount and
                                                                                        trade debts, bank      claim is     deduction for value of collateral or setoff to
       Name of creditor and complete           Name, telephone number and email
                                                                                              loans,         contingent,              calculate unsecured claim.
      mailing address, including zip code         address of creditor contact
                                                                                           professional     unliquidated,
                                                                                          services, and      or disputed     Total        1Deduction
                                                                                           government                       claim, if     for value of       Unsecured
                                                                                            contracts)                      partially     collateral or       Claim
                                                                                                                            secured         setoff [1]


     Skyservice FBO                            Attention: Pedro Carvalho
     6120 Midfield Road                        Phone: +1 647 200 7534
8                                                                                        Trade Vendor       Unliquidated                                        $419,000
     Mississauga, ON, L5P 1B1                  Email:
     Canada                                    pedro_carvalho@skyservice.com


     Lufthansa Technik AERO Alzey              Attention: Katrin Bommersheim
     Weg beim Jäger 193                        Phone: +49 6731 4970
9                                                                                        Trade Vendor       Unliquidated                                        $375,400
     22335, Hamburg                            Email:
     Germany                                   katrin.bommersheim@lhaero.com
     APD Airplane Delivery
                                               Attention: Jessica Clemencon
     135 Avenue Des Comminges
10                                             Phone: +33 6 42 91 69 41                  Trade Vendor                                                           $268,480
     31270, Cugnaux
                                               Email: jcu@airplane.aero
     France
     Coopersa RL
                                               Attention: Alberto Zuniga
     300 Metros Oeste Del Aeropuerto
11                                             Phone: 50624372824                        Trade Vendor       Unliquidated                                        $250,000
     International Juan Santamaria, Alajuela
                                               Email: azuniga@coopesa.com
     Costa Rica
     Rheinland Air Services GmbH
                                               Attention: Detlef Flintz
     Flughafenstrasse 31
12                                             Phone: +49 178 2550 218                   Trade Vendor       Unliquidated                                        $240,000
     41066, Mönchengladbach
                                               Email: d.flintz@ras.de
     Germany
     Wojskowe Zakłady Lotnicze Nr 2 S.A.
                                               Attention: Robert Grochowski
     ul. Szubińska 107
13                                             Phone: +48 695 894 871                    Trade Vendor       Unliquidated                                        $220,000
     85-915, Bydgoszcz
                                               Email: r.grochowski@wzl2.mil.pl
     Poland
     SAMCO Aircraft Maintenance BV
                                               Attention: Andre Velda
     Horsterweg 19
14                                             Phone: +31(0) 650243228                   Trade Vendor                                                           $197,369
     6199 AC Maastricht Airport
                                               Email: velda.a@samco.aero
     The Netherlands
     Maastricht Aviation Aircraft Services
     BV
                                               Phone: +353 1 2541966
15   Horsterweg 25                                                                       Trade Vendor                                                           $171,951
                                               Email: apmaasus@maasaviation.com
     6199 AC Maastricht
     Netherlands
     Focus.Aero Aps
                                               Attention: Tolja Henningsen
     Hørrelundvej 4
16                                             Phone: +45 29866555                       Trade Vendor       Unliquidated                                        $159,750
     8653 Them
                                               Email: th@focus.aero
     Denmark
     Air Philippines Corporation
     Admin. Builidng, PAL Gate 1,              Attention: Joseph Eli Tan
17   Andrews Avenue                            Phone: +63 977 807 2695                   Trade Vendor       Unliquidated                                        $120,000
     Pasay City, Manila 1300                   Email: josepheli_tan@pal.com.ph
     Philippines
     Park Aviation Limited
     Unit 2.1, Block 2, Woodford Business      Attention: Niall Duggan
18   Park                                      Phone: +353 87 067 0819                   Trade Vendor       Unliquidated                                        $118,000
     Santry, Dublin D17 E925                   Email: niall.duggan@cae.com
     Ireland
                                               Attention: Victoria Goodenough
     DIRECT MAINTENANCE BV
                                               Phone: + 31 6 19 73 26 09
     Fokkerweg 195
19                                             Email:                                    Trade Vendor       Unliquidated                                          $70,000
     1438BG, Oude Meer
                                               victoria.goodenough@directmaintena
     The Netherlands
                                               nce.aero




                                                                                    2
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                                                                                                                                      Amount of claim

                                                                                     Nature of claim                      If the claim is fully unsecured, fill in only
                                                                                                                         unsecured claim amount. If claim is partially
                                                                                       (for example,       Indicate if      secured, fill in total claim amount and
                                                                                     trade debts, bank      claim is     deduction for value of collateral or setoff to
       Name of creditor and complete         Name, telephone number and email
                                                                                           loans,         contingent,              calculate unsecured claim.
      mailing address, including zip code       address of creditor contact
                                                                                        professional     unliquidated,
                                                                                       services, and      or disputed     Total        1Deduction
                                                                                        government                       claim, if     for value of       Unsecured
                                                                                         contracts)                      partially     collateral or       Claim
                                                                                                                         secured         setoff [1]

     StandardAero France                     Attention: Worhiya Diallo
     1 Boulevard du 19 mars 1962             Phone: +33 (0)130185377
20                                                                                    Trade Vendor       Unliquidated                                          $59,000
     95500 Gonesse Cedex                     Email:
     France                                  Worhiya.Diallo@StandardAero.com
     Magnetic MRO AS                         Attention: Kaspars Podins
     Väike-Sõjamäe 1a                        Phone: +37253627107
21                                                                                    Trade Vendor       Unliquidated                                          $56,387
     11415, Tallinn                          Email:
     Estonia                                 kaspars.podins@magneticmro.com
     Azerbaijan Airline
                                             Attention: Aladdin Guliyev
     Heydar Aliyev International Airport
22                                           Phone: +99 412 497 26 00                 Trade Vendor       Unliquidated                                          $50,000
     Baku, AZ 1044
                                             Email: Aladdin.Guliyev@airport.az
     Azerbaijan
     Avions De Transport Regional G.I.E.     Attention: Barbara Moreau
     1, Allée Pierre Nadot                   Phone: +33 (0)6 15 07 86 03
23                                                                                    Trade Vendor       Unliquidated                                          $50,000
     31712, Blagnac Cedex                    Email: Barbara.moreau@atr-
     France                                  aircraft.com
     Fokker Services Asia Pte. Ltd.
     1800 West Camp Road, Seletar            Attention: Eric Lim
24   Aerospace Park                          Phone: +65 9818 5741                     Trade Vendor       Unliquidated                                          $48,000
     Singapore, 797521                       Email: eric.lim@fokker.com
     Singapore
     PT Tobe Aviasi Indonesia TMB
     Aviation                                Attention: Tommy Wibowo
     Green Office Park One, 6th Floor,       Phone: +62 818 988 731
25                                                                                    Trade Vendor       Unliquidated                                          $44,000
     Suite 620                               Email:
     BSD City, Tangerang, 15345              tommy.wibowo@tbmaviation.com
     Indonesia
     Ascent Aviation Services, LLC
                                             Attention: Mike Scott
     7001 S Park Ave
26                                           Phone: +1(520) 429-8011                  Trade Vendor                                                             $42,098
     Tucson, AZ 85756
                                             Email: mscott@ascentmro.com
     United States
     Honeywell International Inc             Phone: 1 (877) 841-2840
     23500 W 105TH STREET                    Email:
27                                                                                    Trade Vendor                                                             $42,000
     OLATHE, KS 66061                        honeywell.accounts.payable@honeyw
     United States                           ell.com
     PT Gapura Angkasa
     Gedung DAPENRA Lt.1-3 Jl. Angkasa       Attention: Ariyo Tri Wulandaru
28   Blok B12 Kav.8, Kotabaru Bandar         Phone: +62 8123985334                    Trade Vendor       Unliquidated                                          $39,000
     Kemayoran Jakarta Pusat – 10610,        Email: ariyotw@gapura.id
     Indonesia
     Embraer Aircraft Maintenance Services
                                             Attention: Neal Reagor
     150 East Drive
29                                           Phone: +1 615 399 6124                   Trade Vendor       Unliquidated                                          $33,900
     Macon, GA 31216
                                             Email: nreagor@embraer.net.br
     United States
     SkyOn Aeroengineering                   Attention: Camilo Vanegs
     Transv 75#                              Phone: +57 317 4330576
30                                                                                    Trade Vendor       Unliquidated                                          $25,900
     83C-03, Bogota                          Email:
     Colombia                                camilo.vanegas@skyon.com.co




                                                                                 3
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    Fill in this information to identify the case and this filing:

   Debtor Name          JAG VIII LLC

   United States Bankruptcy Court for the:                Eastern District of Virginia
                                                                                                    (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration                        List of Equity Security Holders and Corporate Ownership
            Statement
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                    /s/ Justin Bickle
                                       12/19/2021
                                       MM/ DD/YYYY                                 Signature of individual signing on behalf of debtor
                                                                                   Justin Bickle
                                                                                   Printed name
                                                                                   Authorized Signatory
                                                                                   Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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                               OMNIBUS WRITTEN CONSENT
                         OF THE BOARD OF DIRECTORS, MANAGERS,
                 OR SIMILAR GOVERNING BODY, AS APPLICABLE, OF EACH OF
                THE COMPANIES SET FORTH ON EXHIBIT A ATTACHED HERETO

                                           DECEMBER 16, 2021

         We, the undersigned, are the requisite members of the board of directors, managers, or similar
 governing body (each, an “Authorizing Body” and, collectively, the “Authorizing Bodies”) of Nordic
 Aviation Capital Designated Activity Company, an Irish company (“NAC DAC”) and certain of the NAC
 DAC’s subsidiaries set forth on Exhibit A attached hereto (each a “Subsidiary” and, collectively, the
 “Subsidiaries”), each organized and existing under the internal laws of the state of incorporation or
 formation, as applicable, set forth opposite each Subsidiary’s name on Exhibit A. Each Authorizing
 Body, as approved at the joint meeting of the Authorizing Bodies held on December 16, 2021, hereby
 take the following actions and adopt the following resolutions by unanimous written consent pursuant to
 each Subsidiary's bylaws, limited liability company agreement or such similar operating document and
 the applicable laws of the state of incorporation or formation, as applicable, of each Subsidiary.

 1.       Resolutions.

          Whereas, the Authorizing Bodies, having reviewed and considered (i) the entry into that certain
          restructuring support agreement (together with all exhibits and schedules thereto, as may be
          amended, restated, amended and restated, supplemented, or otherwise modified from time to
          time, the “Restructuring Support Agreement”); (ii) the entry into that certain backstop
          commitment agreement (the “Backstop Agreement”) through which ordinary shares will be
          issued pursuant to the terms set forth therein; (iii) the filing of a voluntary petition for relief for
          each Subsidiary under the provisions of chapter 11 of title 11 of the United States Code, 11
          U.S.C. § 101 et seq. (as amended, the "Bankruptcy Code") pursuant to applicable law and in
          accordance with the requirements of each Subsidiaries’ governing documents and applicable
          law (the "Restructuring Matters"); and (iv) to the extent applicable, authorizing entry into and
          performance under the DIP Facility Documents and the Exit Facility Documents, each as
          defined herein,

          Whereas, the Authorizing Bodies having reviewed and considered the materials presented by
          the management of the Subsidiaries and the Subsidiaries’ financial and legal advisors, and
          having had adequate opportunity to consult such persons regarding the materials presented,
          obtain additional information, and to fully consider each of the strategic alternatives available
          to the Subsidiaries, therefore RESOLVED THAT:

          Restructuring Support Agreement.

 1.1      In the judgment of the Authorizing Bodies it is desirable and in the best interest of the
          Subsidiaries, their stakeholders, their creditors, and other parties in interest, that each
          Subsidiary enter into the Restructuring Support Agreement by and among the Subsidiaries,
          certain of their affiliates, and the Consenting Creditors (as defined in the Restructuring Support
          Agreement) substantially in the form presented to the Authorizing Bodies on or prior to the
          date hereof, and that the Subsidiaries’ performance of its oblgations under the Restructuring
          Support Agreement, and all other exhibits, schedules, attachments, and ancillary documents
          related thereto, hereby is, in all respects, authorized and approved; and

 1.2      Any director or other duly appointed officer of the Subsidiaries or of NAC DAC (collectively,
          the “Authorized Persons”) shall be, and each of them individually hereby is, authorized and
          directed for and on behalf of each Subsidiary to take all actions (including, without limitation,
          to negotiate and execute any documents, certificates, supplemental agreements, and
          instruments) necessary or advisable to finalize the Restructuring Support Agreement, to enter
          into and perform under the Restructuring Support Agreement, and the transactions
          contemplated thereunder that, in the judgment of the applicable Authorized Person, are
          necessary or appropriate to effectuate and carry out the purposes and intent of the foregoing
          resolutions (such determination to be conclusively evidenced by the taking of any such action
          or execution thereof).
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       Backstop Agreement.

 1.3   In the judgment of the Authorizing Bodies it is desirable and in the best interest of the
       Subsidiaries, their stakeholders, their creditors, and other parties in interest, that each
       Subsidiary enter into the Backstop Agreement by and among NAC DAC, certain of its
       subsidiaries, and the Commitment Parties (as defined in the Backstop Agreement)
       substantially in the form presented to the Authorizing Bodies on or prior to the date hereof, and
       that the Subsidiaries’ performance of its oblgations under the Backstop Agreement, and all
       other exhibits, schedules, attachments, and ancillary documents related thereto, hereby is, in
       all respects, authorized and approved; and

 1.4   Any Authorized Persons be, and each of them individually hereby is, authorized and directed
       for and on behalf of each Subsidiary to take all actions (including, without limitation, to
       negotiate and execute any documents, certificates, supplemental agreements, and
       instruments) necessary or advisable to finalize the Backstop Agreement, to enter into and
       perform under the Backstop Agreement, and the transactions contemplated thereunder that,
       in the judgment of the applicable Authorized Person, are necessary or appropriate to effectuate
       and carry out the purposes and intent of the foregoing resolutions (such determination to be
       conclusively evidenced by the taking of any such action or execution thereof).

       Chapter 11 Filing.

 1.5   In the judgment of the Authorizing Bodies it is desirable and in the best interest of the
       Subsidiaries, the stakeholders, the creditors, and other parties in interest, that Subsidiary files
       or causes to be filed voluntary petitions for relief (the "Bankruptcy Petitions") under the
       provisions of chapter 11 of the Bankruptcy Code and, in accordance with the requirements in
       each Subsidiary’s governing documents and applicable law, hereby consents to, authorizes
       and approves, the filing of the Bankruptcy Petitions; and

 1.6   Any Authorized Persons be, and hereby are, authorized and appointed to act as signatory and
       attorney on behalf of each Subsidiary in respect of the Restructuring Matters and/or any
       persons to whom such Authorized Persons and/or officers delegate certain responsibilities,
       be, and hereby are, authorized to execute and file on behalf of each Subsidiary all petitions,
       schedules, lists, and other motions, papers, or documents, and to take any and all action that
       they deem necessary or proper to obtain such relief, including, but not limited to, any action
       necessary or proper to maintain the ordinary course operations of each Subsidiary’s or any of
       its subsidiary’s businesses.

       Retention of Professionals.

 1.7   Each of the Authorized Persons, be, and hereby are, authorized, empowered, and directed to
       employ on behalf of each Subsidiary: (i) the law firm of Kirkland & Ellis LLP as general
       bankruptcy counsel; (ii) the law firm of Kutak Rock LLP as co-bankruptcy counsel; (iii) the law
       firm of Clifford Chance LLP as co-corporate counsel; (iv) the law firm of William Fry LLP as co-
       corporate counsel; (v) the law firm of Gorrissen Federspiel as co-corporate counsel; (vi) N.M.
       Rothschild & Sons Limited as financial advisor; (vii) Ernst & Young LLP as restructuring and
       tax advisor; (viii) PricewaterhouseCoopers LLP as tax and accounting advisors; (ix) Epiq
       Corporate Restructuring, LLC as notice and claims agent; and (x) any other legal counsel,
       accountants, financial advisors, restructuring advisors or other professionals the Authorized
       Persons deem necessary, appropriate or advisable; each to represent and assist the
       Subsidiaries in carrying out its duties and responsibilities and exercising its rights under the
       Bankruptcy Code and any applicable law (including, but not limited to, the law firms filing any
       pleadings or responses); and in connection therewith, the Authorized Persons, be, and hereby
       are authorized, empowered and directed, in accordance with the terms and conditions hereof,
       to execute appropriate retention agreements, pay appropriate retainers, and to cause to be
       filed appropriate applications for authority to retain such services; and

 1.8   Each of the Authorized Persons, be, and hereby are, authorized, empowered and directed to
       execute and file all petitions, schedules, motions, lists, applications, pleadings, and other
       papers, and to perform such further actions and execute such further documentation that the
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        Authorized Persons in their absolute discretion deem necessary, appropriate or desirable in
        accordance with these resolutions.

        Use of Cash Collateral, Debtor-in-Possession Financing, and Adequate Protection.

 1.9    To the extent applicable to the Subsidiaries, in the judgment of the Authorizing Bodies it is
        desirable and in the best interest of the Subsidiaries, its stakeholders, its creditors, and other
        parties in interest to obtain the benefits of (i) the use of cash collateral, as such term is defined
        in section 363(a) of the Bankruptcy Code (“Cash Collateral”), which is security for certain of
        the Subsidiaries’ prepetition secured lenders (the "Prepetition Secured Lenders”) under
        certain credit facilities by and among the Subsidiaries, the guarantors party thereto, and the
        lenders party thereto; and (ii) the incurrence of debtor-in-possession financing obligations
        (“DIP Financing”) by entering into that certain Superpriority Senior Secured Debtor-in-
        Possession Credit Agreement (the “DIP Credit Agreement”) by and among NAC DAC, certain
        of the Subsidiaries, the financial institutions from time to time party thereto and their
        successors and assigns (collectively the “DIP Lenders”), Wilmington Trust, National
        Association in its capacity as agent for the DIP Lenders (in such capacity and together with
        any successor or assigns, the “DIP Agent”) on the terms set forth in that certain commitment
        letter (the “DIP Commitment Letter”) by and among NAC DAC, certain of its subsidiaries, and
        the Commitment Parties (as defined in the DIP Commitment Letter);

 1.10   In order to use and obtain the benefits of DIP Financing and Cash Collateral, and in
        accordance with section 363 of the Bankruptcy Code, each Subsidiary will provide certain
        adequate protection to the Prepetition Secured Lenders (the “Adequate Protection
        Obligations”) as documented in proposed interim and final orders (collectively, the
        “Financing Orders”) to be submitted for approval of the Bankruptcy Court, and, to the extent
        that each Subsidiary is required to obtain consent from the Prepetition Secured Lenders to
        enter into any of the DIP Facility Documents, as defined herein, such consent has been (or will
        be) obtained from the Consenting Creditors under the Restructuring Support Agreement or
        otherwise;

 1.11   In the judgment of the Authorizing Bodies, the form, terms, and provisions of each of the
        instruments and documents listed below (collectively, the "DIP Facility Documents”),
        substantially in the forms circulated to the Authorizing Bodies, and each Subsidiary’s
        execution, delivery and performance of its obligations under the DIP Facility Documents,
        including without limitation the grant of security interests under the DIP Facility Documents,
        and any borrowings or guaranty therewith, be, and hereby are, in all respects, authorized and
        approved:

        1.11.1    the DIP Commitment Letter;

        1.11.2    the DIP Credit Agreement;

        1.11.3    any promissory note executed by the Subsidiaries in connection with the DIP Credit
                  Agreement;

        1.11.4    the Loan Guaranty (as defined in the DIP Credit Agreement) and any other guarantee
                  in connection with the DIP Credit Agreement;

        1.11.5    the Security Agreement (as defined in the DIP Credit Agreement) and any other
                  security agreement or pledge agreement in connection with the DIP Credit
                  Agreement;

        1.11.6    an Irish law-governed debenture in favour of the DIP Agent;

        1.11.7    the Financing Orders; and

        1.11.8    all other certificates, instruments and documents executed or delivered to or in favor
                  of any of the DIP Lenders or the DIP Agent in connection with the loans made and
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                 transactions contemplated under the DIP Credit Agreement, as the same may be
                 amended, supplemented or replaced from the time to time;

 1.12   To the extent applicable, the Companies shall be, and is hereby, authorized to enter into the
        DIP Facility Documents and incur the obligations thereunder (the “DIP Obligations”), and
        each of the Authorized Persons be, and hereby are, authorized, empowered, and directed in
        the name of, and on behalf of, each Subsidiary to execute deliver, and perform all of the
        obligations and the transactions contemplated under each of the DIP Facility Documents in
        the name and on behalf of each Subsidiary, with such changes, additions, and modifications
        thereto as such Authorized Person shall approve, with such approval to be conclusively
        evidenced by such Authorized Person’s execution and delivery thereof;

 1.13   Each of the Authorized Persons be, and hereby are, authorized, in the name and on behalf of
        each Subsidiary, to take all such further actions, or cause all such further actions to be taken
        and to execute and deliver all such further agreements, documents, instruments, certificates
        recordings, and filings, in the name and on behalf of each Subsidiary, as in the determination
        of such Authorized Person shall be necessary, proper, or advisable in order to fully carry out
        the intent and accomplish the purposes of the foregoing resolutions and to consummate the
        transactions contemplated thereby, such authority to be conclusively evidenced by the
        execution of any document or the taking of any such action by such Authorized Person;

 1.14   Each of the Authorized Persons be, and hereby are, authorized, in the name and on behalf of
        each Subsidiary, to enter into any guarantees as described or contemplated by the DIP Facility
        Documents or any other documents, certificates, instruments, agreements, intercreditor
        agreements, any extension amendment, any incremental agreement, or any other amendment
        required to consummate the transactions contemplated by the DIP Facility Documents and
        perform its obligations thereunder and to guarantee the payment and performance of the DIP
        Obligations of the Companies and any other guarantor thereunder;

 1.15   Each of the Authorized Persons be, and hereby are, authorized, empowered, and directed in
        the name of, and on behalf of, each Subsidiary to seek authorization to incur the DIP
        Obligations and approval to use Cash Collateral pursuant to the Financing Orders, and any
        Authorized Person be, and hereby is, authorized, empowered, and directed to negotiate,
        execute, and deliver any and all agreements, instruments, or documents, by or on behalf of
        the Subsidiary, necessary to implement the postpetition financing, including the Adequate
        Protection Obligations to the Prepetition Secured Lenders in accordance with section 363 of
        the Bankruptcy Code, as well as any additional or further agreements for entry into the DIP
        Facility Documents and the use of Cash Collateral in connection with the chapter 11 case,
        which agreements may require the Companies to grant adequate protection and liens to the
        Prepetition Secured Lenders and each other agreement, instrument, or document to be
        executed and delivered in connection therewith, by or on behalf of the Companies pursuant
        thereto or in connection therewith, all with such changes therein and additions thereto as any
        Authorized Person approves, such approval to be conclusively evidenced by the taking of such
        action or by the execution and delivery thereof;

 1.16   Each of the Authorized Persons be, and hereby are, authorized, directed, and empowered, in
        the name of, and on behalf of, each Subsidiary to take such actions and negotiate or cause to
        be prepared and negotiated and to execute, deliver, perform, and cause the performance of,
        each of the transactions contemplated by the DIP Facility Documents and such other
        agreements, certificates, instruments, receipts, petitions, motions, or other papers or required
        documents to which each Subsidiary is or will be party or any order entered into in connection
        with the chapter 11 case (together with the DIP Facility Documents and the Financing Orders,
        collectively, the “Financing Documents”) and to incur and pay or cause to be paid all related
        fees and expenses, with such changes, additions and modifications thereto as an Authorized
        Person executing the same shall approve;

 1.17   The Companies, as debtors and debtors-in-possession under the Bankruptcy Code be, and
        hereby are, authorized, empowered, and directed to incur any and all obligations and to
        undertake any and all related transactions on substantially the same terms as contemplated
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        under the Financing Documents, including granting liens on its assets to secure such
        obligations; and

 1.18   Each of the Authorized Persons, be, and hereby are, authorized, empowered, and directed in
        the name of, and on behalf of, each Subsidiary, to execute and deliver any amendments,
        supplements, modifications, renewals, replacements, consolidations, substitutions, and
        extensions of the postpetition financing or any of the Financing Documents or to do such other
        things which shall in his or her sole judgment be necessary, desirable, proper, or advisable in
        order to perform the DIP Obligations and to give effect to the foregoing resolutions, which
        determination shall be conclusively evidenced by his or her or their execution thereof.

        Exit Financing.

 1.19   In the judgment of the Authorizing Bodies, it is desirable and in the best interest of the
        Companies, the stakeholders, and the creditors, that the Companies and certain of their
        subsidiaries and/or affiliates enter into a certain credit agreement (the “Exit Facility
        Underwriting Agreement”) in connection with an exit facility upon emergence from their
        chapter 11 cases (the “Exit Facility”) and grant security interests and/or guarantees in relation
        thereto;

 1.20   To the extent that the Companies are required to obtain consent from the Prepetition Secured
        Lenders to enter into any of the Exit Facility Documents, as defined herein, such consent has
        been (or will be) obtained from the Consenting Creditors under the Restructuring Support
        Agreement or otherwise;

 1.21   To the extent applicable, the Companies, by entering into the Exit Facility, will receive direct
        and indirect benefits from the transactions contemplated by the Exit Facility Underwriting
        Agreement, the terms and conditions of which were negotiated in a prepetition Exit Facility
        Term Sheet, as defined in the Restructuring Support Agreement, and have been previously
        reviewed by the Authorizing Bodies and consequently, each Subsidiary desires to enter into
        (i) the Exit Facility Underwriting Agreement, (ii) any related documents, and (iii) to the extent
        the Companies are parties thereto, the Exit Facility Underwriting Agreement, and all other
        agreements, documents, and instruments executed or delivered in connection with the Exit
        Facility, including any guarantee agreements, notes, pledge and collateral agreements,
        intercreditor agreements, subordination agreements, fee letters, other security documents,
        and any other documentation necessary to effectuate the Exit Facility (such documents
        collectively, the “Exit Facility Documents”) and the transactions contemplated thereby;

 1.22   To the extent applicable, the Authorizing Bodies deem the execution and delivery of the Exit
        Facility Documents and the transactions consummated thereby, to be desirable, advisable,
        and in the best interests of the Companies;

 1.23   In the judgment of the Authorizing Bodies, the execution and delivery of the Exit Facility
        Documents (and the incurrence of the obligations thereunder) by the Companies, in the forms
        substantially consistent with the Exit Facility Term Sheet provided to the Authorizing Bodies,
        and the consummation of the transactions contemplated thereunder by the Companies,
        including (i) execution, delivery, and performance of all other agreements, instruments,
        documents, notices, or certificates constituting exhibits to or that may be required, necessary,
        appropriate, desirable, or advisable to be executed pursuant to the Exit Facility Documents or
        otherwise permitted thereunder or related thereto, including interest rate, currency, or
        commodity hedging arrangements (each, an “Additional Credit Document” and collectively,
        the “Additional Credit Documents”), (ii) any granting of security interests and/or guarantees
        in relation thereto, and (iii) the making of representations and compliance with the covenants
        thereunder and the assumption of any obligations under and in respect of any of the foregoing,
        are hereby authorized and approved;

 1.24   As used herein, the term “Additional Credit Documents” shall include, but is not be limited
        to, any intercreditor agreements and all other documents, certificates, or agreements
        necessary, proper, or advisable to consummate the transactions contemplated by the Exit
        Facility Documents, including, without limitation, any note, fee letter, guarantee agreement,
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        security agreement, mortgage, pledge, intellectual property security interest agreement,
        intellectual property security agreement, or other documentation similar to any of the foregoing;
        and

 1.25   Each of the Authorized Persons be, and hereby are, authorized, directed, and empowered in
        the name of, and on behalf of, each Subsidiary to take all actions including, without limitation,
        (i) the negotiation, execution, delivery, and filing of any agreements, certificates, instruments,
        or documents (including mortgages, financing statements, and similar documents), (ii) the
        modification, restatement, or amendment of any of the terms and conditions of any Exit Facility
        Document, (iii) the payment of any consideration, and (iv) the payment of indemnitees, fees,
        costs, expenses, and taxes as any such Authorized Person, in his or her sole discretion, may
        deem necessary, appropriate, or advisable in order to effectuate the transactions
        contemplated under any Exit Facility Document, and all acts of any such Authorized Person
        taken pursuant to the authority granted herein, or having occurred prior to the date hereof in
        order to effect such transactions, are hereby approved, adopted, ratified, and confirmed in all
        respects.

        Further Actions and Prior Actions.

 1.26   The Subsidiaries are hereby authorized to authorize (and each Subsidiary hereby authorizes)
        any direct or indirect subsidiary of each Subsidiary or any entity of which such Subsidiary or
        any subsidiary of such Subsidiary is the sole member, general partner, managing member, or
        equivalent manager, as applicable, to take each of the actions described in these resolutions
        or any of the actions authorized in these resolutions, and none of the resolutions contained
        herein, or action taken in furtherance hereto, shall have or cause an adverse effect on any
        such subsidiary or such Subsidiary’s interest therein (including without limitation, any
        automatic dissolution, divestiture, dissociation, or like event under applicable law).

 1.27   In addition to the specific authorizations heretofore conferred upon the Authorized Persons,
        the Authorized Persons, either individually or as otherwise required by each Subsidiary’s
        governing documents and applicable law, be, and each of them hereby is, authorized to
        execute, acknowledge, deliver, and file any and all agreements, certificates, instruments,
        powers of attorney, letters, forms, transfer, deeds and other documents on behalf of each
        Subsidiary relating to the Restructuring Matters.

 1.28   Each of the Authorized Persons (and their designees and delegates) be, and hereby is,
        authorized and empowered, in the name of and on behalf of each Subsidiary, to take or cause
        to be taken any all such other and further action, and to execute, acknowledge, deliver, and
        file any and all such agreements, certificates, instruments, and other documents and to pay all
        expenses, including but not limited to filing fees, in each case as in such Authorized Person's
        or Authorized Persons' absolute discretion, shall be necessary, appropriate, or desirable in
        order to fully carry out the intent and accomplish the purposes of the resolution adopted herein.

 1.29   The Authorizing Bodies have received sufficient notice of the actions and transactions relating
        to the matters contemplated by the foregoing resolutions, as may be required by the governing
        documents of each Subsidiary, or hereby waives any right to have received such notice.

 1.30   All acts, actions, and transactions relating to the matters contemplated by the foregoing
        resolutions done in the name of and on behalf of each Subsidiary, which acts would have been
        approved by the foregoing resolutions except that such acts were taken before the adoption
        of these resolutions, are hereby in all respects approved, confirmed and ratified as the true
        acts and deeds of each Subsidiary with the same force and effect as if each such act,
        transaction, agreement, or certificate had been specifically authorized in advance by resolution
        of the Authorizing Bodies.

 1.1    Any Authorized Person be, and each of them hereby is, authorized to do all such other acts,
        deeds and other things as each Subsidiary itself may lawfully do, in accordance with its
        governing documents and applicable law, howsoever arising in connection with the matters
        above, or in furtherance of the intentions expressed in the foregoing resolutions, including, but
        not limited to, the negotiation, finalization, execution and delivery of any other agreements,
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       certificates, instruments, powers of attorney, letters, forms, transfer, deeds and other
       documents whatsoever as the individual acting may in his/her absolute and unfettered
       discretion approve, deem or determine necessary, appropriate or advisable, such approval,
       deeming or determination to be conclusively evidenced by said individual taking such action
       or the execution thereof.
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                                IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first written
                      above.

                      NAC AVIATION 8 LIMITED, being the Sole
                      Member of each Subsidiary listed on Schedule 3



                      By: ____________________
GNATURE PAGE
HE ASSIGNOR           Name: Tom Turley
                      Title: Director
GNED AND DELIVERED as a deed by


                                           ��t:5:
                                         )
 and on behalf of                        )
K Leasing Limited         By: ____________________
                                         )
                                         )     Elaine Kirby
                          Name: Elaine Kirby
 its duly authorised attorney            )     Director
                      Title:    Director

                    JM �i\..-
the presence of:
                               \\
 tness Signature:
                      By: ____________________
                      Name: Jame Donath
                      Title: Director
tness Name:

                      By: ____________________
                      Name: Tony Horton
                      Title: Director


                      By: ____________________
                      Name: Justin Bickle
                      Title: Director


                      By: ____________________
                      Name: Martin Cooke
                      Title: Director


                      By: ____________________
                      Name: Paul O’Donnell
                      Title: Director




                                                                        15




                                                        [Signature Page to Omnibus Consent]
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          IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first written
 above.

 NAC AVIATION 8 LIMITED, being the Sole
 Member of each Subsidiary listed on Schedule 3



 By: ____________________
 Name: Tom Turley
 Title: Director


 By: ____________________
 Name: Elaine Kirby
 Title: Director


 By: ____________________
 Name: Jame Donath
 Title: Director


 By: ____________________
 Name: Tony Horton
 Title: Director


 By: ____________________
 Name: Justin Bickle
 Title: Director


 By: ____________________
 Name: Martin Cooke
 Title: Director


 By: ____________________
 Name: Paul O’Donnell
 Title: Director




                                 [Signature Page to Omnibus Consent]
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          IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first written
 above.

 NAC AVIATION 8 LIMITED, being the Sole
 Member of each Subsidiary listed on Schedule 3



 By: ____________________
 Name: Tom Turley
 Title: Director


 By: ____________________
 Name: Elaine Kirby
 Title: Director


 By: ____________________
 Name: Jame Donath
 Title: Director


 By: ____________________
 Name: Tony Horton
 Title: Director


 By: ____________________
 Name: Justin Bickle
 Title: Director


 By: ____________________
 Name: Martin Cooke
 Title: Director


 By: ____________________
 Name: Paul O’Donnell
 Title: Director




                                 [Signature Page to Omnibus Consent]
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          IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first written
 above.

 NAC AVIATION 8 LIMITED, being the Sole
 Member of each Subsidiary listed on Schedule 3



 By: ____________________
 Name: Tom Turley
 Title: Director


 By: ____________________
 Name: Elaine Kirby
 Title: Director


 By: ____________________
 Name: Jame Donath
 Title: Director


 By: ____________________
 Name: Tony Horton
 Title: Director


 By: ____________________
 Name: Justin Bickle
 Title: Director


 By: ____________________
 Name: Martin Cooke
 Title: Director


 By: ____________________
 Name: Paul O’Donnell
 Title: Director




                                 [Signature Page to Omnibus Consent]
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                                       IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first written
                              above.

                              NAC AVIATION 25 LIMITED, being the Sole
                              Member of each Subsidiary listed on Schedule 4



                              By: ____________________
SIGNATURE PAGE                Name: Tom Turley
THE ASSIGNOR                  Title: Director
SIGNED AND DELIVERED as a deed by


                                               ��t:5:
                                           )
for and on behalf of                       )
NK Leasing Limited
                              By: ____________________
                                           )
                                           )     Elaine Kirby
                              Name: Elaine Kirby Director
By its duly authorised attorney            )



                      JM �i\..-
In the presence of:           Title: Director
                                  \\
Witness Signature:


                              By: ____________________
                              Name: Jame Donath
Witness Name:                 Title: Director


                              By: ____________________
                              Name: Tony Horton
                              Title: Director


                              By: ____________________
                              Name: Justin Bickle
                              Title: Director


                              By: ____________________
                              Name: Martin Cooke
                              Title: Director


                              By: ____________________
                              Name: Paul O’Donnell
                              Title: Director

                                                                     15




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          IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first written
 above.

 NAC AVIATION 25 LIMITED, being the Sole
 Member of each Subsidiary listed on Schedule 4



 By: ____________________
 Name: Tom Turley
 Title: Director


 By: ____________________
 Name: Elaine Kirby
 Title: Director


 By: ____________________
 Name: Jame Donath
 Title: Director


 By: ____________________
 Name: Tony Horton
 Title: Director


 By: ____________________
 Name: Justin Bickle
 Title: Director


 By: ____________________
 Name: Martin Cooke
 Title: Director


 By: ____________________
 Name: Paul O’Donnell
 Title: Director




                                 [Signature Page to Omnibus Consent]
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          IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first written
 above.

 NAC AVIATION 25 LIMITED, being the Sole
 Member of each Subsidiary listed on Schedule 4



 By: ____________________
 Name: Tom Turley
 Title: Director


 By: ____________________
 Name: Elaine Kirby
 Title: Director


 By: ____________________
 Name: Jame Donath
 Title: Director


 By: ____________________
 Name: Tony Horton
 Title: Director


 By: ____________________
 Name: Justin Bickle
 Title: Director


 By: ____________________
 Name: Martin Cooke
 Title: Director


 By: ____________________
 Name: Paul O’Donnell
 Title: Director




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          IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first written
 above.

 NAC AVIATION 25 LIMITED, being the Sole
 Member of each Subsidiary listed on Schedule 4



 By: ____________________
 Name: Tom Turley
 Title: Director


 By: ____________________
 Name: Elaine Kirby
 Title: Director


 By: ____________________
 Name: Jame Donath
 Title: Director


 By: ____________________
 Name: Tony Horton
 Title: Director


 By: ____________________
 Name: Justin Bickle
 Title: Director


 By: ____________________
 Name: Martin Cooke
 Title: Director


 By: ____________________
 Name: Paul O’Donnell
 Title: Director




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          IN WITNESS WHEREOF, the undersig ned have executed this consent as of the date first w ritten
 above.


 NORDIC AVIA TION CAPITAL INC., being the
 Manager of each Subsidiary listed on Schedule 5




                                                                                               •




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                                          Schedule 1

                  Board of Directors: Jette Hulgaard, Morten Mikkelsen

                       Subsidiary                          Jurisdication
           Jetscape, Inc.                      Delaware
           Nordic Aviation Capital Inc.        Florida


                                          Schedule 2

                                          RESERVED

                                          Schedule 3

                           Sole Member: NAC Aviation 8 Limited

                    Subsidiary                             Jurisdication
           ALC ATR 426 1012, LLC                Delaware
           ALC ATR 426 1018, LLC                Delaware
           ALC ATR 726 1086, LLC                Delaware
           ALC ATR 726 1103, LLC                Delaware
           ALC ATR 726 1112, LLC                Delaware


                                          Schedule 4

                          Sole Member: NAC Aviation 25 Limited

                      Subsidiary                           Jurisdication
           NAC Aviation Colorado 1 LLC          Colorado
           NAC Aviation Colorado 2 LLC          Colorado


                                          Schedule 5

                           Manager: Nordic Aviation Capital Inc.

                      Subsidiary                           Jurisdication
           JAG VIII LLC                         Florida
           NAC Aviation US LLC                  Florida
           Nordic Aviation Services US, LLC     Delaware


                                          Schedule 6

                                          RESERVED

                                          Schedule 7

                          Manager: Jetscape Aviation Group Ltd.

                     Subsidiary                            Jurisdication
           Jetscape Aviation Group, LLC         Florida
